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                         Exhibit C
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                                                Exhibit C – U.S. Patent No. 9,490,879


Toyota makes, uses, tests, offers for sale, sells, and/or imports vehicles that comply, operate in accordance, and/or are configured in
accordance with 36 Series of one or more of 3GPP releases 10-16. Such vehicles are collectively referred to as the “Accused
Products.” The Accused Products include Toyota and Lexus-branded vehicles that support LTE and that were made in, used in, tested
in, offered for sale in, sold in, or imported into the United States by Toyota at some point in time since 2018. Each of the Accused
Products supports LTE and, thus, includes the features and functionality identified in this chart. The features and functionality
identified in this chart cause the Accused Products to practice the asserted claims of U.S. Patent No. 9,490,879 (the “’879 patent”).


               Claim 1                                                     Accused Products
 [PRE] A method performed by a          An Accused Product configured is a user terminal of a cellular telecommunication system.
 user terminal of a cellular            As evidenced below, the Accused Products perform the claimed method when operating on
 telecommunication system               an LTE network.
 comprising:

 [A] receiving, by the user terminal,   As evidenced below, an Accused Product operating on an LTE network receives an
 an indication of an uplink             indication of an uplink transmission scheme to be used for transmission on a physical uplink
 transmission scheme to be used for     shared channel (PUSCH), wherein the indication indicates either a single-antenna
 transmission on a physical uplink      transmission scheme or a multi-antenna transmission scheme.
 shared channel (PUSCH), wherein
 the indication indicates either a
 single-antenna transmission scheme
 or a multi-antenna transmission
 scheme;




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                  Claim 1                                                   Accused Products




                                         Source: 36.213, 1 pp. 76-78


    [B] determining PUSCH resources      As evidenced below, an Accused Product operating on an LTE network determines PUSCH
    of the user terminal for an uplink   resources of the user terminal for an uplink subframe.
    subframe;



1
 3GPP TS 36.213 V10.13.0 (2015-06) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical layer procedures (Release
10)

                                                                   2
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              Claim 1                                                      Accused Products




                                        Source: 36.213, p. 80




                                        Source: 36.213, p. 88


[C] allocating at least one control     As evidenced below, an Accused Product operating on an LTE network allocates at least one
message field to the resources of the   control message field to the resources of the PUSCH according to the uplink transmission
PUSCH according to the uplink           scheme.
transmission scheme; and,




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                  Claim 1                                                     Accused Products




                                          Source: TS 36.212, 2 pp. 23-24


    [D] on a condition that the uplink    As evidenced below, an Accused Product operating on an LTE network, on a condition that
    transmission scheme is the multi-     the uplink transmission scheme is the multi-antenna transmission scheme, transmitting in the
    antenna transmission scheme,          uplink subframe one or more of the at least one control message field via multiple antennas
    transmitting in the uplink subframe   using transmit diversity multi-antenna transmission and concurrently transmitting in the
    one or more of the at least one       uplink subframe a plurality of different traffic data via the multiple antennas using multi-
    control message field via multiple    stream spatial multiplexing.
    antennas using transmit diversity

2
 3GPP TS 36.212 V10.9.0 (2015-09) Evolved Universal Terrestrial Radio Access (E-UTRA); Multiplexing and channel coding
(Release 10)

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                                                 Exhibit C – U.S. Patent No. 9,490,879


                Claim 1                                                      Accused Products
multi-antenna transmission and
concurrently transmitting in the
uplink subframe a plurality of
different traffic data via the multiple
antennas using multi-stream spatial
multiplexing.




                                          Source: TS 36.212, pp. 23-29




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                                               Exhibit C – U.S. Patent No. 9,490,879


                Claim 1                                                    Accused Products




                                       Source: The 4G: LTE/LTE-Advanced, 3 pp. 286-87




3
    Erik Dahlman, et. al, 4G: LTE/LTE-Advanced for Mobile Broadband (2d ed. 2014)

                                                                6
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                                               Exhibit C – U.S. Patent No. 9,490,879


               Claim 2                                                        Accused Products
[PRE] An apparatus for use in a         An Accused Product includes “an apparatus for use in a cellular telecommunication system”
cellular telecommunication system,      (e.g., a telematics unit or data communications module, and associated hardware/software
the apparatus comprising:               for communicating using LTE).


[A] a receiver configured to receive    The Accused Products include hardware/software configured to receive signals when
an indication of an uplink              communicating using LTE (i.e., a receiver). As evidenced above, the hardware/software
transmission scheme to be used for      configured to receive signals when communicating using LTE is configured to receive an
transmission on a physical uplink       indication of an uplink transmission scheme to be used for transmission on a physical uplink
shared channel (PUSCH), wherein         shared channel (PUSCH), wherein the indication indicates either a single-antenna
the indication indicates either a       transmission scheme or a multi-antenna transmission scheme. See Claim 1, [A].
single-antenna transmission scheme
or a multi-antenna transmission         An Accused product includes multiple antennas, as evidenced by support for closed-loop
scheme;                                 spatial multiplexing. See Claim 1, [A].

[B] multiple antennas;
[C][1] a processor configured to:       The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
                                        processor(s) in a data communications module) configured to implement and/or support LTE
determine PUSCH resources of the        communications. As evidenced above, the one or more processors are configured to
apparatus for an uplink subframe;       determine PUSCH resources of the apparatus for an uplink subframe. See Claim 1, [B].
and


[C][2] [a processor configured to:]     As evidenced above, the one or more processors are configured to allocate at least one
                                        control message field to the resources of the PUSCH according to the uplink transmission
allocate at least one control message   scheme. See Claim 1, [C].
field to the resources of the PUSCH
according to the uplink transmission
scheme; and
[D] a transmitter configured to, on a   The Accused Products include hardware/software configured to transmit signals when
condition that the uplink               communicating using LTE (i.e., a transmitter). As evidenced above, the hardware/software
                                        configured to transmit signals when communicating using LTE is configured to, on a


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              Claim 2                                                            Accused Products
transmission scheme is the multi-         condition that the uplink transmission scheme is the multi-antenna transmission scheme,
antenna transmission scheme:              transmit in the uplink subframe one or more of the at least one control message field via the
                                          multiple antennas using transmit diversity multi-antenna transmission and transmit in the
transmit in the uplink subframe one       uplink subframe concurrently with transmitting the one or more of the at least one control
or more of the at least one control       message field a plurality of different traffic data via the multiple antennas using multi-stream
message field via the multiple            spatial multiplexing. See Claim 1, [D].
antennas using transmit diversity
multi-antenna transmission; and

transmit in the uplink subframe
concurrently with transmitting the
one or more of the at least one
control message field a plurality of
different traffic data via the multiple
antennas using multi-stream spatial
multiplexing.


              Claim 3                                                        Accused Products
3. A user terminal of the cellular        An Accused Product is a user terminal of the cellular telecommunication system.
telecommunication system
comprising the apparatus according
to claim 2.


               Claim 4                                                         Accused Products
[PRE] A non-transitory computer           Each Accused Product includes one or more processors (e.g., processor(s) in a telematics
readable medium storing program           unit, processor(s) in a data communications module) configured to implement and/or support
instructions for execution by at least    LTE communications. These processors implement instructions stored as software/code in
one processor, the program                memory included in the Accused Product (i.e., non-transitory computer readable medium
instructions comprising:                  storing program instructions for execution by at least one processor).




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               Claim 4                                                         Accused Products
[A] program instructions for            As evidenced above, the instructions include software/code that when implemented cause the
receiving an indication of an uplink    Accused Product to receive an indication of an uplink transmission scheme to be used for
transmission scheme to be used for      transmission on a physical uplink shared channel (PUSCH), wherein the uplink transmission
transmission on a physical uplink       scheme is for a user terminal of a cellular telecommunication system, and wherein the
shared channel (PUSCH), wherein         indication indicates either a single-antenna transmission scheme or a multi-antenna
the uplink transmission scheme is       transmission scheme. See Claim 1, [A].
for a user terminal of a cellular
telecommunication system, and
wherein the indication indicates
either a single-antenna transmission
scheme or a multi-antenna
transmission scheme;

[B] program instructions for            As evidenced above, the instructions include software/code that when implemented cause the
determining PUSCH resources of          Accused Product to determine PUSCH resources of the user terminal for an uplink subframe.
the user terminal for an uplink         See Claim 1, [B]
subframe;


[C] program instructions for            As evidenced above, the instructions include software/code that when implemented cause the
allocating at least one control         Accused Product to allocate at least one control message field to the resources of the PUSCH
message field to the resources of the   according to the uplink transmission scheme. See Claim 1, [C]
PUSCH according to the uplink
transmission scheme; and

[D] program instructions for            As evidenced above, the instructions include software/code that when implemented cause the
transmitting in the uplink subframe,    Accused Product to transmit in the uplink subframe, on a condition that the uplink
on a condition that the uplink          transmission scheme is the multi-antenna transmission scheme, one or more of the at least
transmission scheme is the multi-       one control message field via multiple antennas using transmit diversity multi-antenna
antenna transmission scheme, one or     transmission and concurrently transmit in the uplink subframe a plurality of different traffic
more of the at least one control        data via the multiple antennas using multi-stream spatial multiplexing. See Claim 1, [D]
message field via multiple antennas


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                Claim 4                                          Accused Products
using transmit diversity multi-
antenna transmission and
concurrently transmitting in the
uplink subframe a plurality of
different traffic data via the multiple
antennas using multi-stream spatial
multiplexing.




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